           Case 1:21-cr-00117-TFH Document 57-31 Filed 11/09/21 Page 1 of 11




                          THE MCBRIDE LAW FIRM, PLLC
                                          JOSEPH D. MCBRIDE, ESQ.
                                              Attorney and Counselor at Law
                                                    99 PARK AVENUE
                                                       25TH FLOOR
                                                  NEW YORK, NY 10016

                                NEW YORK, NY 10004                                   August 3, 2021
VIA EMAIL AND OVERNIGHT DELIVERY

Paul O’Brien, Executive Director
Amnesty International USA Headquarters
311 W 43rd Street, 7th Floor
New York, NY 10036
Email: report@aiusa.org

Anthony D. Romero, Executive Director
American Civil Liberties Union
125 Broad Street, 18th Floor
New York, NY 10004

RE:        EMERGENCY REQUEST TO INVESTIGATE MISTREATMENT OF PRE-
           TRIAL DETAINEES FROM THE JANUARY 6, 2021 U.S. CAPITOL PROTEST

Dear Messrs O’Brien and Romero:

        The undersigned lawyers who are representing certain defendants charged with various
misdemeanor and felony offenses in connection with the protest at the U.S. Capitol on January 6,
2021 (hereafter referred to as “January Sixers”), urgently call upon Amnesty International and the
American Civil Liberties Union to investigate the mistreatment and torture of pre-trial detainees
held in the District of Columbia jail over the last six months. This letter is an emergency request
to help us put an end to the human rights violations taking place at what has been called “DC-
GITMO”– violations which without question meet the definition of torture.

        Initially, it should be noted that none of the detainees or those released pending trial have
been charged with insurrection, despite the media, leaders in Congress, and the President of the
United States calling it an insurrection. However, even if all January Sixers were charged with
insurrection, our call for help and immediate action would remain the same. This is because pretrial
detainees are being tortured while in federal custody in violation of Supreme Court precedent, as
well as the United Nations Standard Rules for the Treatment of Prisoners, otherwise known as the
Nelson Mandela Rules,1 which were recently incorporated by reference and codified as law, in
New York State.2


1
    https://www.unodc.org/documents/justice-and-prison-reform/Nelson_Mandela_Rules-E-ebook.pdf.
2
    https://www.nysenate.gov/legislation/bills/2019/s8622


                                                                                                      1
           Case 1:21-cr-00117-TFH Document 57-31 Filed 11/09/21 Page 2 of 11




             A. THE UNITED STATES SUPREME COURT PROHBITS PUNISHMENT OF
                                   PRETRIAL DETAINESS

        The Supreme Court of the United States has ruled that pretrial detainees, unlike convicted
persons, cannot be punished at all, never mind maliciously and sadistically.3 Despite this legal
standard, the harsh reality is that January Sixers are being held in DC-GITMO in violation of their
constitutional and human rights. January Sixers are routinely denied the right to confer with their
counsel, as well as obtain and maintain their legal paperwork. They are also are being beaten,
sleep deprived, denied medical care, regular shower access, haircuts4, shaves, and held in solitary
confinement for long periods of time. This is unprecedented, unconstitutional, un-American,
offensive to all standards of common decency, illegal, and wrong.

               B. SOLITARY CONFINEMENT IS TORTURE UNDER STANDARDS SET
                    FORTH BY THE UNITED STATES AND THE UNITED NATIONS

        The United Nations’ Nelson Mandela Rule defines solitary confinement as “the
confinement of prisoners for 22 hours or more a day without meaningful human contact.”5 The
ACLU’s Federal Anti-Solitary Taskforce (FAST) classifies Solitary confinement as torture
because it (1) causes immense suffering, (2) devastating mental, physical, and emotional harm,
and (3) has directly caused the deaths of far too many people.6

        United States Senator Elizabeth Warren, in her October 31, 2019 letter to the Department
of Homeland Security’s Officer for Civil Rights and Civil Liberties, used the United Nations’
finding that solitary confinement is torture,7 as justification to call for an investigation into the
Federal Government’s use solitary confinement against pretrial detainees. As well as the
government’s hinderance of previous investigations examining the abuse of detainee civil rights
and liberties.8




3
    Kingsley v. Hendrickson, 576 U.S. 389 (2015).
4
 Upon information and belief, as of August 2, 2021, January Sixers must be vaccinated to obtain a haircut, and
professional appearance in Court, where 2 of the 40 individuals on the Patriot Unit are vaccinated.
5
    https://www.solitaryconfinement.org/un-nelson-mandela-rules
6
    https://www.aclu.org/report/blueprint-ending-solitary-confinement-federal-government

7
 United Nations Report, "Seeing into Solitary: A Review of the Laws and Policies of Certain Nations Regarding
Solitary Confinement of Detainees," https://www.weiI.com/~/media/files/pdfs/2016/un special report solitary
confinement.pdf.


8
 See U.S. SENATOR ELIZABETH WARREN, letter to Department of Homeland Security’s Office of Civil Rights and
Civil Liberties addressing the improper use of solitary confinement on detainees, (October 31, 2019), attached as AI
ACLU 1.



                                                                                                                  2
           Case 1:21-cr-00117-TFH Document 57-31 Filed 11/09/21 Page 3 of 11




        On June 16, 2021, I published an article on LinkedIn Pulse Titled “American citizens are
being tortured right now within five miles of the White House. Tell me… are you okay with this?”9
The purpose of that article was to sound the alarm on the very real fact that pretrial detainees are
being tortured while in federal custody in violation of their constitutional and human rights.10

       On July 24, 2021, the following four members of Congress: Rep. Paul A, Gosar, D.D.S.,
Rep. Matt Gaetz, Rep. Louie Gohmert, and Rep. Marjorie Taylor Green wrote a letter to Attorney
General Merrick Garland requesting a meeting on July 27, 2021, during which the conditions of
confinement that pretrial detainees are enduring at DC-GITMO would be discussed.11 Their
requests have yet to be answered.

       Since that time, these same members of Congress held a press conference outside of DC-
GITMO on July 29, 2021, where they were harassed and publicly shouted down. These members
of Congress attempted to enter the facility and demanded to inspect it, or at least discuss their
concerns with prison officials. DC-GITMO officers responded by locking the doors and barring
entrance into the facility.

        These events are deeply troubling. Those currently seated in the highest positions of power
in the United States Federal Government have refused to investigate or acknowledge the human
rights violations taking place in DC-GITMO. 12 As such, we are turning to both your organizations
for immediate help.

        The purpose of this correspondence, therefore, is to urgently request an immediate
investigation into the Federal Government’s use of solitary confinement and various human rights
violations against pretrial detainees charged with January Sixth related crimes.




9
  See JOSEPH MCBRIDE, ESQ., American citizens are being tortured right now within five miles of the White House.
Tell me… are you okay with this?, (June 16, 2021), attached as Exhibit 2.

10
  The aforementioned article was widely circulated across the Internet for over a month before being banned by
LinkedIn for violating community guidelines on July 20, 2021, directly after McBride’s appearance on CNN’s New
Day with John Avalon, during which, McBride informed the public that January Sixers were being tortured in DC-
GITMO. McBride asked the nation the following question: “. . . are you okay with pretrial detainees being
tortured?”.

11
   Letter to A.G. Garland addressing status of investigations related to conditions of confinement at D.C. Jail,
attached as Exhibit 3
12
     https://www.politico.com/news/2021/04/19/capitol-riot-defendants-warren-483125



                                                                                                                   3
           Case 1:21-cr-00117-TFH Document 57-31 Filed 11/09/21 Page 4 of 11




                                      C. THE NELSON MANDELA RULES

        The Nelson Mandela Rules13 state that all prisoners shall be treated with the respect due to
their inherent dignity and value as human beings. No prisoner shall be subject to, and all prisoners
shall be protected from, torture and other cruel, inhuman or degrading treatment or punishment,
for which no circumstances whatsoever may be invoked as justification. (Rule 1). There shall also
be no discrimination on the grounds of race, religion, or political opinion. (Rule 2).

         The Rules also state that in order to a maintain a good appearance and self-respect, facilities
shall provide for the proper care of the hair and beard, and men shall be able to shave regularly.
(Rule 18) Sanitary installations shall be adequate and regular shower access given. (Rule 16). And
all parts of the prison shall be kept clean at all times. (Rule 17).

        Every prisoner shall be given wholesome food of nutritional value at normal hours for
health and strength. And drinking water shall be made available to the prisoner whenever he or
she needs it. (Rule 22). All prisoners shall be given access to regular health care services. (Rules
26 & 27).

        General living conditions addressed in these rules, including those related to light,
ventilation, temperature, sanitation, nutrition, drinking water, access to open air, physical exercise,
personal hygiene, health care, and adequate personal space, shall apply to all prisoners without
exception. (Rule 42).

        In no circumstances may restrictions or disciplinary sanctions amount to torture or other
cruel, inhumane or degrading treatment or punishment. Prolonged solitary confinement is
prohibited. Placement of a prisoner in a dark cell is prohibited. Discipline shall not include a
prohibition against family contact. Corporal punishment and collective punishment are prohibited.
(Rule 43).

        Solitary confinement is defined as the confinement of a prisoner for 22 hours or more a
day absent meaningful human contact. Prolonged solitary confinement is defined as a period of
solitary confinement for more than 15 days. (Rule 44).

        Solitary confinement shall be used only in exceptional cases as a last resort, for the shortest
possible time, and subject to independent review. (Rule 45). The imposition of solitary
confinement is prohibited against prisoners with mental or physical disabilities when their
conditions would be exasperated by such measures. (Rule 45)




13
     Nelson Mandela Rules, Attached as Exhibit 4


                                                                                                      4
        Case 1:21-cr-00117-TFH Document 57-31 Filed 11/09/21 Page 5 of 11




          D. THE HORRIBLE CIRCUMSTANCES UNDER WHICH JANUARY SIXERS
             ARE BEING HELD VIOLATE THEIR CONSTITUTIONAL AND HUMAN
                                     RIGHTS

        January Sixers are regularly being held in solitary confinement for 22 or 23 hours a day in
DC-GITMO. Dubbed the Patriot Unit, this previously defunct part of DC-GITMO, was reopened
specifically to house January Sixers. To put it mildly the facility is disgusting. Black mold, brown
drinking water, and poor ventilation are but a few of the problems with the facility itself.

       The way that staff treats the detainees is brutal and denies them their civil rights. If a
detainee speaks up, the guards lock everyone down. If a lawyer speaks out against the jail or the
government, the guards lock everyone down. And when the jail really wants to punish, it uses
COVID-19 as a cover to lock everyone down for weeks at a time. This means, at best, detainees
have 1 hour each day out of their cells to attend to their personal needs.

        The detainees are also regularly harassed, publicly abused, and threatened by the guards
during their “recreational time.” Those January Sixers who have the courage to speak up about
the conditions of confinement are immediately sent to “The Hole” where they are locked up in a
small cell for 24-hours per day, cut off from all meaningful human contact, their families, and their
counsel for weeks and even months at a time. They are also denied the right to regularly shower,
shave, and cut their hair. Even timely access to medical care is weaponized and denied as a means
to punish, control, and break down pretrial detainees being held in DC-GITMO’s Patriot Unit.

        My client, Richard Barnett, who did not assault any Capitol Police or destroy any property,
was detained by the federal government for 109 days before being released over the objections of
the Justice Department since he was neither a danger to society nor risk of flight. His crime was
putting his feet on one of Nancy Pelosi’s desks at the request of a press photographer.

        Richard spent the entirety of his time at DC-GITMO in solitary confinement enduring
disgusting unsanitary conditions that include the presence of black mold inside the cell where he
was being held in solitary confinement, as well as beatings, sleep deprivation, getting robbed of
his belongings, and various psychological and emotional abuses– including the denial of timely
medical care, and threats toward his wife. Barnett filed ten grievances against staff for these
offenses, none of them were unanswered, and each one resulted in swift punishment and retaliation
by the guards.14




14
   See March 1, 2021 grievance filed by Richard Barnett against an officer that “refused to give his name but he
identified himself as, Nebo’s cousin. He said he was going to make me his bitch. Said I had a pretty mouth and called
my wife by name and said he was getting on a plane to go sexually assault her and we were inbreeds from Arkansas”,
attached as Exhibit 5.


                                                                                                                   5
       Case 1:21-cr-00117-TFH Document 57-31 Filed 11/09/21 Page 6 of 11




                              E. SPECIFIC INCIDENTS OF TORTURE

        Richard Barnett was regularly tortured during his time in DC-GITMO. TORTURE
INCIDENTS 1-3 illustrate the seriousness of these allegations with respect to Richard Barnett, but
do not account for the multiple other incidents which have not been recorded in this document.

TORTURE INCIDENT #1:

        A prison guard approached Richard and made a sexually threatening comment, one that
could easily be construed as a threat to sexually assault Richard. The guard then called Richard’s
wife by her first name and told Richard that he was going to get on a plane to Arkansas where he
would sexually assault her as well. Richard filed a Prison Rape Elimination Act (PREA)
complaint. Richard’s complaint was not properly considered. He was instead retaliated against in
three different ways.

        First, Richard was taken to SMU A, which is separate 24-hour lock down area known as
“the hole.” Second, at some point, Richard was taken through an underground tunnel to an area
of the Jail where local DC prisoners are held. There the inmates threatened to assault, slash, and
murder Richard for three days. Third, Richard was taken to SMU, B, also known as the second
hole, where he remained in prolonged solitary confinement for the next several weeks.

TORTURE INCIDENT #2:

         Richard’s time at DC-GITMO was filled with anxiety, uncertainty, and a high level of
stress. One day, Richard began to feel tightness in his chest, pain in his left arm, and thought that
he was having a heart attack, as such, he called for “help!” A guard came over to his cell, looked
at Richard, and then proceeded to mock and laugh at him. Richard, thinking he was dying called
out for a female staff member that was within screaming distance. She heard Richard’s screams
and said she would get help. Richard laid there for a significant period of time— certainly enough
time for him to die. Richard eventually received medical attention and was given an EKG. Richard
still does not know to this day whether or not he had a heart attack.

         Richard was still ill when he was returned to his cell. He asked the guards to check in on
him to make sure he was okay. Richard eventually fell asleep. The guard who laughed at him
earlier, decided to pound on the glass door to Richard’s cell for no other reason than to harass him.
This startled Richard so badly that he stood up fast, but because he was still not well, he fainted
and hit his head on the sink. The guard saw this happen and left Richard a second time. Richard
woke up with massive swelling and was bleeding from his head. Richard once again found himself
screaming for medical attention for almost an hour until help came.

       Richard filed a grievance against the abovementioned officer who had been treating him
badly and that officer was removed from Richard’s area. However, and for reasons we still do not
understand, that officer returned to Richard’s area about a month later, and on his very first day
back falsely accused and charged Richard with misconduct. Richard was thrown in the hole and
robbed of his personal belongings as a result. Richard stayed in the hole for approximately 2 weeks.




                                                                                                   6
        Case 1:21-cr-00117-TFH Document 57-31 Filed 11/09/21 Page 7 of 11




TORTURE INCIDENT #3:

         DC-GITMO has been using COVID-19 as a justification to keep January Sixers in 23-hour
lockdown for months at a time. Because of COVID, both officers and detainees are supposed to
stay masked in the common areas. One day Richard asked an officer who was in close proximity
to him to wear his mask. That officer responded by verbally abusing and threatening Richard
publicly in front of many witnesses, including family members who heard the commotion on the
other end of the phones. Richard was ordered back to his cell where he opened a book and began
to read.

        Richard’s cell door opened at some point and a group of approximately nine officers told
Richard to exit his cell. Richard told them he had done nothing wrong and extended his hands to
be cuffed. Richard was cuffed and shackled. He was verbally abused and threatened with mace.
The guards jerked Richard back and forth with great force. Richard objected to the way he was
being treated. One of the guards yelled “Take him down!” And in that moment, Richard Barnett,
a sixty-year-old pretrial detainee with no criminal record was lifted off of his feet by his shackles
and slammed shoulder and head first into the concreate floor.

        Richard was then charged by the officers with inciting a riot. Richard asked for a hearing.
He won the hearing, and was ordered back to the Patriot Unit as a result. The guards disregarded
this order and kept Richard in the hole for multiple additional weeks up until the day he was
released.15

TORTURE INCIDENT #4:

        Edward Jacob Lang, a January Sixer, has been held in the hole in 24-hour a day solitary
confinement on three separate occasions, totaling more than three months. Lang’s physical abuse
includes being dragged, shoved, denied regular shower access, and getting an entire can of mace
in his face, while standing inside of cell with photos and a bible in his hand. Lang’s other abuses
include sleep deprivation, verbal abuse, and being denied the right to counsel. Just recently, Lang
was taken to The Hole, where he remained for two straight months, without a single disciplinary
ticket. After being taken out of The Hole, he received a hero’s welcome upon returning to the
Patriot Unit. Within 14 hours of being back on the Patriot Unit, the guards opened his’ cell door,
and maced him directly in his eyes. When Lang was maced he was standing in his cell with a bible
in one hand and family photos in the other. He then was brought back to The Hole, where he
remains today.

This is torture.




15
   See April 19, 2021, grievance filed by Richard Barnett marked SMU-B asking why he is still being held in
solitary despite winning his hearing and being ordered back to the Patriot Unit, Attached as Exhibit 6.



                                                                                                              7
           Case 1:21-cr-00117-TFH Document 57-31 Filed 11/09/21 Page 8 of 11




TORTURE INCIDENT #5:

       What about the case of Scott Fairlamb, the New Jersey Gym owner, who has been reported
to have been in federal custody since January, 2021, and “stays 23.5 hours daily in his cell”.16
Newsweek reported that Fairlamb “was diagnosed with leukemia shortly after his MMA debut at
Ring of Combat 31 in September 2010 [and] [i]n 2014, Fairlamb opened Fairlamb Fit, a gym in
Pompton Lakes, New Jersey.”17 Fairlamb has been detained since January 22, 2021, and during
such time he has yet to see his family, lost his business which is his family’s main source of
income.18 While in jail, he suffered a heart attack, has to continue to fight Leukemia with daily
chemo pill treatment, all while being locked in my cell for more than 23 hours straight every other
day.19 This is torture.


TORTURE INCIDENT #6:

       Has the world forgotten Emmanuel Jackson, who according to court filings “was a
homeless, 20-year-old high school student. . . with Autism, an IQ of 75, and a processing speed
index of 62.5.”20 The D.C District Court eventually granted Jackson pretrial release after finding
Jackson to have severe “intellectual disability”.21

        Jackson was repeatedly being tortured by the guards while detained in DC-GITMO because
he is a Black January Sixer. One time in particular he was ferociously maced and dragged to the
hole after asking for some kind of assistance. According to Richard Barnett, Jackson was maced
so intensely that the overflow of the chemical agent poured into Barnett’s cell, resulting in Barnett
choking as well. This is torture.




16
   See JENNIFER JEAN MILLER, NJ Gym Owner Charged In Capitol Riot Spends 23.5 Hours in Cell, available at
https://patch.com/new-jersey/hopatcong-sparta/nj-gym-owner-charged-capitol-riot-spends-23-5-hours-cell (last
visited August 3, 2021).
17
  See JEFFERY MARTIN, Former MMA Fighter Scott Fairlamb Charged With Punching Cop in Capitol Riots,
available at, https://www.newsweek.com/former-mma-fighter-scott-fairlamb-charged-punching-cop-capitol-riots-
1563847 (last visited August 3, 2021).
18
     See https://www.givesendgo.com/j6patriotrelief
19
     See https://www.givesendgo.com/j6patriotrelief
20
     See US v. Jackson, 1:21 – CR- 00395 (TJK) at ECF Doc. 10, p. 3
21
   See BREAKING: Judge Beryl A. Howell releases mentally-ill Capitol insurrectionist Emanuel Jackson pending
trial. His severe "intellectual disability" was a key factor in her decision, available at,
https://www.reddit.com/r/CapitolConsequences/comments/lwdhrm/breaking_judge_beryl_a_howell_releases


                                                                                                               8
         Case 1:21-cr-00117-TFH Document 57-31 Filed 11/09/21 Page 9 of 11




TORTURE INCIDENT #7:

        Has the world also forgotten about the multiple news reports of the beating Ryan Samsel
took while in DC-GITMO? Samsel’s allegations include the claim that DC-GITMO guards zip-
tied his hands behind his back and beat him so badly that he will never again be the same. As
corroborated in court documents which state:

                  Mr. Samsel is to undergo a major surgery and is concerned about his
                  recovery where he is currently housed. Currently, Mr. Samsel is
                  detained and locked down for 24 hours a day. While on lockdown,
                  it is common for Ms. Samsel to not have contact with a corrections
                  officer for several hours. The concern arises regarding Mr. Samsel’s
                  safety post-surgery for the lack of care and Central Virginia
                  Regional can provide.

                  (See US v. Samsel, 1:21-MJ-00188(ZMF) at ECF Doc. 41, p. 2).


        The D.C. District Court has recognized Samsel’s medical concerns for months now, and
recently ordered that: “the court will continue to work with the parties to locate the best available
medical care for the defendant.22 Despite this, Samsel alleges that he remains in solitary
confinement to this day.

                                              THIS IS TORTURE.


                       F. APPLICATION OF THE NELSON MANDELLA RULES

        Application of the Nelson Mandela Rules to these troubling facts leads to one conclusion.
January Sixers are being held in solitary confinement for extended periods of time on a regular
basis. DC-GITMO has cleverly used COVID-19 as a pretext to justify the indefinite 23-hour per
day lockdown of January Sixers in their cells. The Mandela Rules, however, clearly state that there
is no justification whatsoever for prolonged solitary confinement. Therefore, under the standards
set forth by the ACLU and United Nations, it is clear that January Sixers are being tortured at DC-
GITMO, within five miles of the White House.




22
   On or before July 9, the Court will issue further guidance as to the requested transportation of the defendant.” See
07/01/2021 Minute Order. Over a month later “The Court request a representative from the USMS and the jail's
medical unit appear at the hearing.” See 08/02/2021 Minute Order.



                                                                                                                      9
          Case 1:21-cr-00117-TFH Document 57-31 Filed 11/09/21 Page 10 of 11




                          G. APPLICATION OF SUPREME COURT PRECEDENT

The Supreme Court of the United States has ruled that pretrial detainees, unlike convicted
persons, cannot be punished at all, never mind maliciously and sadistically.23Despite this legal
standard, and as demonstrated by the specific instances above, the reality is that in addition to
prolonged solitary confinement, January Sixers are being beaten, denied medical treatment,
denied regular shower access, as well as reasonable access to personal hygiene items. Therefore,
under the standards set forth by the United States Supreme Court, it is clear that January Sixers
constitutional rights are being violated at DC-GITMO, within five miles of the White House.

                                H. REQUEST FOR IMMEDIATE ASSISTANCE

        Attorney General Merrick Garland, whose office is a few blocks from the DC Jail, has
failed to take any corrective action to stop the use of solitary confinement and other inhumane
acts against January Sixers despite the multitude of voices, except from the main stream media,
complaining about the plight of these American citizens. Make no mistake about it, Attorney
General Garland’s silence is an endorsement of these malicious and sadistic practices.

        Moreover, these practices are being used to intimidate and extract cooperation and
information from January Sixers for the benefit of the FBI’s investigation and the benefit of DOJ’s
prosecution of January Sixers. And just last week, federal prosecutors announced that the trials in
these cases won’t begin until 2022, further punishing these detainees, whose sentence, if convicted,
may be less than their time served if they were released pending trial.

        We note that the Secretary of State Antony Blinken has recently called upon the United
Nations to investigate racism in America,24 yet Attorney General Garland has turned a blind eye
to the rampant civil rights abuses occurring just a few blocks from his office.

        Originally intended to be an “island outside the law” where terrorism suspects could be
interrogated without restraint, the ACLU has reported that Guantánamo Bay has become an
international symbol of injustice, abuse, and disregard for the rule of law.25Yet, the detainees at
GITMO who are suspected terrorists responsible for the horrific attack on our country on
September 11, 2001, seem to be treated much better than the detainees at DC-GITMO.

       We therefore request your immediate assistance to investigate the inhumane conditions of
confinement in DC-GITMO, as well as the use of torture against citizen detainees, which is
unprecedented, unreasonable, unconstitutional, and wrong.

       Nelson Mandela said that no one truly knows a nation until one has been inside its jails.
And that a nation should not be judged by how it treats its highest citizens, but its lowest ones.

23
  Kingsley v. Hendrickson, 576 U.S. 389 (2015).
24
  https://www.worldtribune.com/biden-secretary-of-state-blinken-invites-un-to-set-up-racial-truth-commission-in-
america/
25
     https://www.aclu.org/issues/national-security/detention/guantanamo-bay-detention-camp


                                                                                                               10
      Case 1:21-cr-00117-TFH Document 57-31 Filed 11/09/21 Page 11 of 11




       We look forward to your prompt response to this urgent request.

Respectfully Submitted,

/s/ Joseph D. McBride, Esq.
________________________
JOSEPH D. MCBRIDE, ESQ.
Counsel for Richard Barnett


/s/ Steven A. Metcalf, Esq
________________________
STEVEN A. METCALF, ESQ.
Counsel for Edward Jacob Lang


/s/ Martin H. Tankleff, Esq.
________________________
 MARTIN H. TANKLEFF, ESQ
Counsel for Dominic Pezzola

Attachments: Exhibits 1-6

Cc: Merrick Garland

   U.S. Attorney General
   U.S. Department of Justice
   950 Pennsylvania Avenue, NW
   Washington, D.C. 20530-0001

Cc: Members of Congress:
   Paul A. Gosar, D.D.S.
   2057 Rayburn House Office Building
   Washington, D.C. 20515

   Matt Gaetz
   Longworth House Office Building
   1721, Washington, D.C. 20515

   Louis Gohmert
   2057 Rayburn House Office Building
   Washington, D.C. 20515

   Marjorie Taylor Greene
   Longworth House Office Building
   1721, Washington, D.C. 20515


                                                                           11
